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                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF FLORIDA

IN THE MATTER OF:            .        Case #23-1118
                             .
AJ RUIZ CONSULTORIA         .         C. Clyde Atkins US Courthouse
EMPRESARIAL S.A.,            .        301 North Miami Avenue, Rm 150
                             .        Miami, Florida 33128
     v.                      .
                             .        June 5, 2024
COLORADO INVESTMENT HOLDINGS.
LLC, ET AL.                  .        10:08:26 a.m.
____________________________


                       TRANSCRIPT OF HEARING RE:
     SEALED DOCUMENT. THIS DOCUMENT IS SEALED AND WILL NOT BE
       AVAILABLE FOR PUBLIC VIEWING FILED BY PLAINTIFF AJ RUIZ
  CONSULTORIA EMPRESARIAL S.A., (RE: 81 MOTION TO FILE DOCUMENT
      UNDER SEAL. THIS DOCUMENT WILL BE AVAILABLE FOR PUBLIC
         VIEWING. FILED BY PLAINTIFF DELOITTE TOUCHE TOHMATSU
   CONSULTORES LTDA., PLAINTIFF AJ RUIZ CONSULTORIA EMPRESARIAL
                              S.A.), (86)
            BEFORE THE HONORABLE MINDY A. MORA, J.U.S.B.C.




                                   Acolad
                61 Broadway – Suite 1400, New York, NY 10006
                   Phone: 212-346-6666 * Fax: 888-412-3655
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ZOOM APPEARANCES:

 For the Plaintiff:               GRACE KNOFCZYNSKI, ESQ.
                                  Kellogg, Hansen, Todd, Figel and
                                  Frederick, PLLC

 For the Defendants:              GABRIELA DELGADO, ESQ.
                                  White and Case

COURTROOM APPEARANCES:

  For the Plaintiff:              ANDREW GOLDSMITH, ESQ.
                                  Kellogg, Hansen, Todd, Figel and
                                  Frederick, PLLC
  AJ RUIZ CONSULTORIA
                                  NYANA MILLER, ESQ.
                                  Sequor Law

  For the Defendants:

  JOESLEY MENDOCA BATISTA,        LAURA GARR, ESQ.
  WESLEY MENDOCA BATISTA,         White and Case
  J&F INVESTIMENTOS, S.A.,
  JJMB PARTICIPACOES LTD,
  WWMB PARTICIPACOES LTDA

   JBSSA                          GABRIELA RUIZ, ESC.
                                  Ford, O’Brien, Landy, LLP

   COLORADO HOLDINGS, LLC         JESSY KREHL, ESQ.
                                  JOSEPH PACK, ESQ.
                                  DAN HUMPHREY, ESQ.
                                  JAMES TEACY, ESQ.
                                  Pack Law


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 1     (At 10:08:26 a.m.)

 2            THE COURTROOM DEPUTY:        All rise.       The United States

 3     Bankruptcy Court in and for the Southern District of Florida

 4     is now in session.    The Honorable Minday A. Mora presiding.

 5            THE COURT:    Please be seated.           All right, good

 6     morning.   We are here on June 5, 2024 on a specially set

 7     matter at 10:00 a.m. in the adversary proceeding AJ Ruiz

 8     Consultoria Empresarial S.A. versus Colorado Investment

 9     Holdings, LLC, adversary proceeding 23-1118.             All right, let

10     me go ahead and take appearances please.            And if you would

11     introduce not only yourselves, as the attorney who will be

12     addressing the Court, but any colleagues that you have either

13     on the phone or here in the courtroom.

14            MR. ANDREW GOLDSMITH:        Good morning, Your Honor.

15     Andrew Goldsmith, from Kellog, Hanson, and Washington, for

16     the Plaintiff, AJ Ruiz Consultoria.          Here in the courtroom

17     with me is Nyana Abru Miller, from Secora Law, and I believe

18     on the ZOOM is my partner, Grace Knofczynski.

19            THE COURT:    Okay, thank you.        I am not seeing anybody

20     who doesn’t have their video on.         All right, great, thank you.

21            MS. NYANA MILLER:       Good morning, Your Honor.

22            THE COURT:    Good morning.       All right, and here for

23     the Defendants?

24            MS. LAURA GUARD:        Good morning, Your Honor.        Laura

25     Guard, from White and Case, counsel for J&F Investimentos,
     #23-1118                                        6-05-2024
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 1     S.A., JJMB Limited, WWMB Limited, Joesley Batista and Wesley

 2     Batista.    On the phone, from White and Case, is a colleague,

 3     Gabriela Delgado, on listen only.

 4              THE COURT:   Thank you.

 5              MS. GABRIELA RUIZ:       Good morning, Your Honor.

 6     Gabriela Ruiz with Ford, O’Brien Landy, for Defendant JBSSA.

 7              THE COURT:   All right, thank you.

 8              MR. JESSY KREHL:       good morning, Your Honor.        Jessy

 9     Krehl, K-R-E-H-L, for Colorado Investment Holdings, LLC,

10     together with Dan Humphrey, Joseph Pack, and James Teacy.

11              THE COURT:   All right, thank you.

12              MR. JAMES TEACY:       Good morning, Your Honor, James

13     Teacy.

14              THE COURT:   Good morning.       All right, we are back

15     today on Plaintiff’s motion to strike, which is ECF’s 86, and

16     the Brazilian Defendant’s response that was filed with docket

17     entry 90.    As you have seen from past hearings, I do read all

18     the papers submitted to the Court in advance.              I don’t

19     require oral argument today.        I have read the papers.          I am

20     aware of your arguments.        If there is any brief -- and I am

21     talking five minutes or less -- additional information that

22     you think the Court should know, before I rule, I am going to

23     give you each an opportunity to make a statement now.                Again,

24     if it is already in your papers, it doesn’t need to be

25     repeated.    If there is anything you would like to add, now is
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 1     the opportunity.

 2            MR. GOLDSMITH:      Thank you, Your Honor.          Andrew

 3     Goldsmith for the Plaintiff.        There is one item just strictly

 4     that is not in the papers, which is that the assertions made

 5     in Defendant’s papers that we are asking to be stricken

 6     include discussion of disciplinary proceedings that were

 7     brought in Brazil, against certain Judges.            It is my

 8     understanding that now, since the papers went in, in this

 9     case, that disciplinary body has rejected the allegations and

10     dismissed that case.

11            THE COURT:     Thank you.     Ms. Guard?

12            MS. GUARD:     Thank you, Your Honor.          I -- I don’t

13     believe -- and I’m sorry, I don’t believe that’s accurate.           I

14     think there are two separate proceedings.            The one that

15     involves Duarte Forcel, which is the law firm at issue here

16     is still ongoing and active.        So, I just want to correct that.

17     And that is my understanding based on a review that the last

18     submission in that case was in March, and it is still ongoing

19     and active, as it relates to the ongoing investigation here.

20                          I also just want to note, Your Honor, that

21     separate from our papers        that here the Plaintiff’s are

22     seeking to strike ten separate paragraphs from the brief.

23     Based on some statements within those paragraphs that they

24     deem scandalous.     And they are inviting this Court to make a

25     determination that those statements are scandalous and
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 1     defamatory, by being the first Court in the Circuit to adopt

 2     a Ninth Circuit case that Plaintiff’s rely on, the In Re:

 3     Roman.   While it is correct that the Eleventh Circuit has not

 4     had occasion to construe the phrase scandalous and defamatory,

 5     we have not been able to find a single case, in this Circuit

 6     -- a single Court in the Circuit that has ever adopted the

 7     Ninth Circuit case relied on by Plaintiffs.             For the

 8     proposition that under 107B, Plaintiff need only show that

 9     the materials at issue are disgraceful or shameful.               All of

10     the cases that we have seen, where Courts in the Circuit have

11     looked to the meaning of those terms, have followed the case,

12     Gitto, that is cited, In Re:        Gitto Global Court.

13                          And I just want to also point out, Your

14     Honor, that -- which -- which should be construed narrowly,

15     and I just want to point out, Your Honor, that we -- as Your

16     Honor pointed out, at the May 15 th hearing, this is not a

17     jury trial.   This is not before, you know, laymen that need

18     to understand this.     We don’t believe, by any standard, under

19     any standard that these statements are scandalous or

20     defamatory.   But -- and importantly, we think it is proper

21     for the Court to consider the -- it goes to one of the heart

22     of our claims, which that this case was brought in bad faith.

23     And that this proceeding is being used to undermine, not

24     assist, Brazilian Courts.        And the statements that are at

25     issue here support that.        And all of those statements are
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 1     supported -- are -- our paragraphs 21 and through 24 are the

 2     basis for every statement that they seek to strike.                And each

 3     one of those is supported by documentary evidence that is

 4     attached as exhibits, that is accurately reflected.                And for

 5     that reason, as seen in our papers, we think it is proper for

 6     the Court to consider.     But as you noted, Your Honor, to the

 7     extent you don’t find it relevant, you are fully competent to

 8     be able to discern which things to consider or not, in your

 9     ruling.   Thank you, Your Honor.

10           THE COURT:      Thank you, counsel.        All right.       As noted,

11     at a hearing about two weeks ago, that we had in mid-May, I

12     ruled upon various motions to seal.          I granted those motions,

13     and all relevant documents remain sealed.            As a recap, we

14     have pending motions to dismiss that relate to the motion to

15     strike the response and reply.        Briefing on the motions to

16     dismiss is complete.     And again, as I noted before, we will

17     forego oral argument on those motions to dismiss, because I

18     generally don’t find those helpful to the Court.                The filings

19     you have made, the existing briefing, they are sufficient.                   I

20     will now address Plaintiff’s motion to strike and the

21     Brazilian Defendant’s response.

22                          The motion to strike cites to Bankruptcy

23     Code Section 107B2 and Bankruptcy Rule 9018, contending that

24     the allegations are scandalous and defamatory.             Plaintiff

25     takes particular umbrage at allegations of bad faith
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 1     throughout the filing of an allegedly unfounded law suit.

 2     Now, the Brazilian Defendant’s response, I found surprisingly

 3     lengthy, although the issues are simple, and the legal

 4     standard is straightforward, the Brazilian Defendants

 5     included an extensive Table of Contents, Table of Authorities,

 6     a long recitation of facts, and many ancillary arguments that

 7     quite frankly weren’t particularly helpful to the issue at

 8     hand.   While I appreciate the effort to be complete and

 9     organized, I would urge you, in the future, to try to be more

10     succinct.   Exceedingly few filings in this court need to

11     carry the trappings of an Appellate brief.             As you may

12     discern, I value cogent argument concisely presented.

13                          Now, Brazilian Defendants primarily contend

14     that the statements at issue are true, supported by

15     documentary evidence, and made for a proper purpose.                The

16     balance of the response focuses upon arguments that relate to

17     the motions to dismiss.     Now, Section 107B2 of the Bankruptcy

18     Code, states that a Bankruptcy Court may protect a person

19     with respect to scandalous or defamatory matter contained in

20     a filing.   Reading this provision, in context, along with the

21     case law interpreting Section 107 makes clear that the focus

22     of the provision is on sealing documents from public view,

23     not striking the content altogether.             Striking portions of a

24     pleading, instead, are governed by Rule 12F as incorporated

25     by Bankruptcy Rule 7012, not Section 107.             I believe I
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 1     understand why Plaintiff sought refuge under Section 107

 2     instead of rule 12F, which I will explain in a moment.                   That

 3     being said, Section 107B2 is an imperfect substitute for Rule

 4     12F.

 5                          Federal Rule 12F provides the standard for

 6     striking material from a pleading.         Under this rule, a Court

 7     may strike any material that is insufficient, redundant,

 8     immaterial, impertinent, or scandalous.            The plain language

 9     of the rule indicates that it is intended to apply only to

10     portions of a pleading, not the entire pleading.                Courts

11     interpreting Rule 12F have observed that striking material

12     from a party’s pleading is an extreme measure.             Citing

13     DaSilva v. Swift, 333 FRD 245 at 247, from the Northern

14     District of Florida in 2019.       As a result, motions to strike

15     are generally viewed with disfavor, and are infrequently

16     granted.   This disfavor arises from the law’s preference for

17     ensuring that cases are decided on their merits, and the

18     reluctance to tamper with pleadings absent a strong reason

19     for doing so.   Citing to the same case.            Courts generally

20     are not willing to determine disputed and substantial

21     questions of law, upon a motion to strike, preferring instead

22     to resolve them on their merits.          Citing to Augustus v.

23     Board of Public Instruction of Escambia County, Florida, 306

24     F Second 862 at pages 868 to 69, which comes out of the Fifth

25     Circuit in 1962, before the Eleventh Circuit split off from
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 1     the Fifth Circuit and is therefore binding on this Court.

 2                          Typically, this Court would be inclined to

 3     grant a motion to strike only if the portion of the pleading

 4     to be stricken has no possible relation to the controversy.

 5     The wrinkle here is that motions to dismiss are not

 6     considered “responsive pleadings”.         Citing to Bevels v.

 7     American States Insurance Company, cited at 100 F Sub second,

 8     1309 at pages 1311 to 1312, out of the Middle District of

 9     Alabama in 2000, and also to Silva, 333 FRD at pages 247 to

10     248.   Therefore, no matter what this Court’s thoughts might

11     be, on the propriety of striking portions of the motion,

12     existing case law indicates that Rule 12F does not apply to a

13     motion to dismiss.

14                          That brings me to my point from a few

15     minutes ago.     The Court presumes that Plaintiff cited to

16     Section 107B2 in lieu of Rule 12F, because 12F does not apply

17     to motions.     The problem is that Section 107 provides for the

18     sealing of a document as a means of protection, not striking

19     the document.     In layman’s terms, we have a round peg trying

20     to go through a square hole.

21                          To make the thought process behind my

22     determination as clear as possible, let me say this plainly.

23     Neither Rule 12F, nor Section 107B2, provides a basis for

24     striking portions of the Brazilian Defendant’s motion to

25     dismiss.   For the sake of clarifying where we stand on an
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 1     equitable level, I am going to elaborate.             The questions of

 2     whether the allegations have any possible relation to the

 3     controversy is not clear cut.        The allegations in Brazilian

 4     Defendant’s motion to dismiss are extraordinary.                 The

 5     accuracy of those allegations is unproven.             And their

 6     relevance is debatable.        All that being said, this is not a

 7     jury trial.     There is no chance that the mere existence of

 8     allegations will sway this Court’s determinations one way or

 9     another.     I am the Finder of Fact.       We don’t have a jury of

10     lay persons who might be misled.         And I will exclude

11     irrelevant and salacious material from being introduced into

12     evidence.     You should know that I am disinclined to take

13     evidence regarding the existence of an investigation into as

14     yet unproven charges.     Instead, I will defer to the Brazilian

15     Courts on anything that even approaches a factual finding in

16     that type matter.     My deference, however, does not change

17     where we are.      I can’t unsee the disputed allegations, but

18     their existence has not, and will not sway my neutrality in

19     this matter.     They are unproven allegations.          They aren’t

20     facts.     And I believe that the Court knows the difference

21     between the two.

22                          The Motion to Strike, the response to the

23     motion to strike, and a reply at docket entry 116 all remain

24     sealed, along with the exhibits.         Everyone has told me what

25     their clients believe needs to be said, and the information
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 1     is being confined to the Court proceedings.             Therefore, we

 2     will simply move on from there.         From this point forward, I

 3     plan to keep this case on a short leash.            I will rule upon

 4     the motions to dismiss as soon as my schedule permits.              If

 5     those motions are denied, as I suspect they will be, we will

 6     move on with discovery.        In the interest of expediency, I

 7     will preview for you that I view this case as a poor

 8     candidate for summary judgement.

 9                          Now, I would not presume to fetter anyone’s

10     ability to file whatever they believe appropriate, including

11     a motion for summary judgement.         You may naturally exercise

12     your client’s rights in that regard as you see fit.              But the

13     facts are complex.     The parties seemed well entrenched in

14     their versions of the story, underlying these claims.              And we

15     have excellent counsel all the way around.             I anticipate that

16     material facts will remain in dispute after discovery.              If

17     material facts are not disputed, of course, counsel should

18     settle any claims, or portions of claims that might be

19     settled.   Counsel also have to agree upon a joint stipulation

20     of facts that they can live with, in the event that the

21     claims progress to the summary judgement or trial stage.

22                          Because everyone here is, as I noted,

23     experience and sophisticated counsel, I want to gently

24     suggest to you that your clients’ funds might be better spent

25     preparing for trial, instead of filing motions for summary
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 1     judgment that are likely to be denied on the basis that

 2     material facts are in dispute.         I would urge you to take

 3     these comments to heart, if we progress past the dismissal

 4     stage.   All right, since we are here on Plaintiff’s motion to

 5     strike, counsel, I would ask that you prepare an Order

 6     denying the motion for the reasons stated on the record.

 7     Please run the form of it by the Brazilian Defendant’s

 8     counsel, and then upload the Order to the Court.                 Any

 9     questions?

10              MR. GOLDSMITH:    No, Your Honor.

11              THE COURT:    All right, thank you.         All right, Ms.

12   Guard, any questions?

13              MS. GUARD:    Just one, Your Honor.         Absent a finding

14   of defamatory or scandalous statements, what is the, I guess

15   the questioning the basis for maintaining the Motion to Seal.

16              THE COURT:    I am not prepared to answer that question

17   at this time.   If you think that the proceeding out to be

18   unsealed, you will need to file a motion articulating the legal

19   basis for doing so.     Give the Plaintiff a chance to respond and

20   then we will take that up.

21              MS. GUARD:    Thank you, Your Honor.

22              THE COURT:    All right, thank you.         All right, with

23   that, this hearing is concluded.        Thank you for your attendance

24   today.   Court is adjourned.

25              THE COURTROOM DEPUTY:       All rise.
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 1      (Proceedings concluded at 10:29:42 a.m.)

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 1                                   CERTIFICATE

 2     I, Joyce A. Waser, court approved transcriber, certify that

 3     the foregoing is a correct transcript from the official

 4     electronic sound recording of the proceedings in the above-

 5     entitled matter.

 6

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 8       ________                                          June 13, 2024

 9       JOYCE A. WASER                                    DATE

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